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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                           Criminal No. 21-108 (PAM/TNL)

 UNITED STATES OF AMERICA,                     )
                                               )
                      Plaintiff,               )
                                               )   GOVERNMENT’S MEMORANDUM
               v.                              )   IN CLARIFICATION
                                               )
 2. TOU THAO,                                  )
 3. J. ALEXANDER KUENG, and                    )
 4. THOMAS KIERNAN LANE,                       )
                                               )
                      Defendants.              )
                                               )

        The United States of America, by and through its undersigned attorneys, files the

following memorandum to clarify its purpose in seeking to admit certain evidence. On

February 1, 2022, Defendant Lane objected to the testimony of Christopher Douglas, who

provided use-of-force training to Defendant Lane prior to Lane’s employment at the

Minneapolis Police Department (“MPD”). Specifically, Defendant Lane objected to the

testimony as irrelevant. Tr. at 1557-58. Although the Court ultimately overruled the

objection, to the extent that additional witnesses will be called to discuss training, whether

at MPD or prior to any of the defendants’ employment with the MPD, the United States

submits the following memorandum in clarification.

   I.      Willfulness in Count 3 (Deliberate Indifference) (Thao, Kueng, Lane)

        Count 3 charges all three defendants with being deliberately indifferent to Mr.

Floyd’s serious medical needs. As described below, one of the elements of Count 3

requires the government to prove that each defendant acted willfully. The elements of
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Count 3 are as follows:

       First:    That the defendant acted under color of law;

       Second: That the defendant deprived Mr. Floyd of the right to be free from a police
               officer’s deliberate indifference to his serious medical needs, meaning:

                 2(a)     Mr. Floyd had an objectively serious medical need, which, when
                          unaddressed, exposed him to a substantial risk of serious harm;

                 2(b) The defendant actually knew that Mr. Floyd had a serious medical
                      need; and

                 2(c) The defendant disregarded that medical need by failing to take
                      reasonable measures to address it;

       Third:    That the defendant committed the acts or omissions willfully; and

       Fourth: That bodily injury and/or death resulted from the offense.

       To conclude that a defendant acted “willfully” as to Count 3, the jury must find that

the defendant intentionally failed to aid Mr. Floyd, knowing that Mr. Floyd had a serious

medical need and that, as an officer, he was required to take reasonable measures to render

medical aid. 1 Willfulness, like other states of mind, is proved through circumstantial

evidence.2 That is because there is no way of reading the human mind to reveal precisely

what someone was thinking at any given moment. Therefore, a defendant’s state of mind

can be proved indirectly from the surrounding circumstances that include, among other

things: what a defendant did or failed to do; the manner and duration of the defendant’s


1
  See United States v. Gonzalez, 436 F.3d 560, 573 (5th Cir. 2006) (defining deliberate
indifference under § 242); cf. United States v. Proano, 912 F.3d 431, 442 (7th Cir. 2019)
(affirming district court’s jury instructions as to “willfulness” in § 242 prosecution).
2
  United States v. Morris, 723 F.3d 934, 941 (8th Cir. 2013) (“[W[illfulness can be
demonstrated circumstantially.”).

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acts or omissions; the defendant’s training; the defendant’s experience; any statements the

defendant made during or after the incident; and any other facts or circumstances in

evidence that show what was in the defendant’s mind.3

       In order to prove willfulness as to Count 3, the government has and will continue to

seek to admit evidence that proves what each defendant knew about their duties to render

medical aid. See Gov. Trial Brief, ECF No. 180, at 17-18, 21 (explaining how and why

the government would seek to introduce training evidence to establish willfulness). That

evidence includes any and all training each defendant had about what is a serious medical

need and what are the necessary and reasonable steps they are required to take under certain

circumstances.    Training—regardless of whether the defendants underwent it while

working at the MPD or at another facility or department—is evidence of what was in each

of the defendant’s minds at the time of the death of Mr. Floyd.

       This sort of proof of willfulness is common. For example, in prosecuting tax fraud

by a tax preparer at XYZ Tax Co., the government would put on evidence that not only did

the defendant receive training at XYZ Tax Co. on policies about the lawful filing of tax

returns, but that the defendant also took a tax class in law school addressing similar

expectations about filing tax returns. The fact that the tax preparer took the law school

class before his employment at XYZ Tax Co. does not render the law school training

irrelevant; to the contrary, the law school training establishes that the defendant had even



3
  See Screws v. United States, 325 U.S. 91, 107 (1945) (holding that, in determining
whether a defendant acted willfully, the jury is “entitled to consider all the attendant
circumstance”).

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more knowledge, or even more deeply-ingrained knowledge, of the tax requirements.

          Further, this evidence of willfulness is not needlessly cumulative. The defense has

indicated that a main defense is that Kueng and Lane were “rookies” and did not have

sufficient training to commit their acts and omissions willfully. To establish willfulness,

the government must put on multiple law enforcement witnesses; such evidence is not a

“needless” presentation of “cumulative evidence,” Fed. R. Evid. 403, because it is material

to willfulness and the witnesses will speak to different training phases and sources. See 1

Fed. Evid. § 4:15 (3d ed.) (“When proof offered on a point is different in character or

persuasive impact from other proof, the former is not merely cumulative of the latter.”).

That training was repeated by multiple entities or in different subject matter areas within

the same entity demonstrates that it was so ingrained in a defendant’s mind that a jury may

conclude that he was aware it at the time of the incident and willfully disregarded it.4

    II.      Reasonableness in Count 3 (Deliberate Indifference) (Thao, Kueng, Lane)

          A separate element of Count 3 requires the government to prove that each defendant

failed to take “reasonable measures” to address Mr. Floyd’s serious medical need. During

the discussion about the admissibility of Mr. Douglas’ testimony, the Court commented

that Defendant Lane “tried to,” or made an “attempt” to, roll Mr. Floyd onto his side. Tr.

at 1558-59. It is possible the Court was referring to the MPD duty-to-intervene policy,



4
  See United States v. Proano, 912 F.3d 431, 442 (7th Cir. 2019) (collecting cases and
explaining that, “[i]f, as here, an officer has been trained that officers should not do several
things when confronted with tense situations, yet he does those things anyway, the fact that
he broke from his training could make it more likely that he acted willfully”).


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which requires an officer to “stop or attempt to stop another sworn employee when force

is being inappropriately applied or is no longer required.” Gov. Ex. 46 at 5964; see also

Trial Testimony of Inspector Katie Blackwell on Direct Examination, Tr. at 881 (“It shall

be the duty of every sworn employee present at any scene where physical force is being

applied to either stop or attempt to stop another sworn employee when force is being

inappropriately applied or is no longer required.”).

       As the Court is aware, Defendant Lane is not charged with failing to intervene in

Count 2.   Defendant Lane is charged with deliberate indifference in Count 3.          The

question for the jury as to Defendant Lane is not whether he made an “attempt,” but

whether he disregarded an obvious and known serious medical need by failing to take

reasonable measures to address it.       The government will argue that CPR-certified

Defendant Lane’s failure to take any action—including his failure to do or say anything for

almost 3 minutes after Officer Kueng reported he could not find a pulse—establishes that

he failed to take “reasonable measures” to address Mr. Floyd’s serious medical need. The

training evidence supports this argument. For example, because Lane was CPR-certified

and trained to provide CPR immediately if officers cannot find a pulse, the jury can find

that the provision of CPR during the 3 minutes that Mr. Floyd remained on the ground

would have been a “reasonable measure,” and that Lane failed to take it. (In contrast,

because Lane was not trained or certified in using a chest-compression LUCAS device,

and did not have one available to him during the restraint, the use of a LUCAS device after

Kueng could not find a pulse is not a “reasonable measure” that Lane failed to take.) The

defense will undoubtedly argue that Lane’s two questions, “Should we roll him on his


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side?” constitute “reasonable measures” to address Mr. Floyd’s serious medical need. It

is for the jury to determine (a) what Defendant Lane did or did not do; and (b) whether

what Defendant Lane did or did not do constituted reasonable measures. See, e.g., Greene

v. Werven, 275 F.2d 134, 141 (8th Cir. 1960) (“The ultimate jury question is whether the

conduct . . . was reasonable.”).

   III.     Willfulness in Count 2 (Failure to Intervene) (Thao, Kueng)

       Finally, as the Court is aware, Count 2 charges Defendants Thao and Kueng with

failing to intervene in Officer Chauvin’s excessive force. In the same way that Count 3

requires proof of willfulness, as described below, Count 2 also requires the government to

prove that Defendants Thao and Kueng acted willfully. The elements of Count 2 are as

follows:

       First:     That the defendant acted under color of law;

       Second: That the defendant deprived Mr. Floyd of the right to be free from a police
               officer’s use of unreasonable force, meaning:

                  2(a)   Former officer Chauvin used objectively unreasonable force
                         against Mr. Floyd;

                  2(b) The defendant observed or otherwise knew that unreasonable
                       force was being used against Mr. Floyd;

                  2(c) The defendant had the opportunity and means to intervene to stop
                       the unreasonable force; and

                  2(d) The defendant failed to take reasonable steps to do so;

       Third:     That the defendant committed the acts or omissions willfully; and

       Fourth: That bodily injury and/or death resulted from the offense.

       As with the defendants’ medical training, the repeated training the defendants


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received regarding a duty to intervene in another officer’s unreasonable force, whether it

happened during training with the MPD or elsewhere, is relevant to the defendants’

willfulness. Thus, the United States has and will continue to adduce evidence of prior

training in order to address the element of willfulness in both Counts 2 and 3.




Dated: February 5, 2022                       Respectfully submitted,


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